          Case 1:21-cr-00236-JDB Document 35 Filed 06/15/21 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                             :
                                                     :
               v.                                    :      Case: 21-mc-00078
                                                     :
                                                     :
FEDERICO GUILLERMO KLEIN,                            :      Case No. 21-cr-236-JDB
also known as “Freddie Klein,”                       :
                                                     :
                              Defendant.             :


                    GOVERNMENT’S RESPONSE TO APPLICATION FOR
                           ACCESS TO VIDEO EXHIBITS

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby responds to the Court’s June 15, 2021 Order, directing the

government to respond to applicants Cable News Network, Inc., American Broadcasting

Companies, Inc. d/b/a ABC News, The Associated Press, Buzzfeed, Inc. d/b/a BuzzFeed News,

CBS Broadcasting Inc. o/b/o CBS News, Dow Jones & Company, Inc., publisher of The Wall

Street Journal, The E.W. Scripps Company, Gannett Co., Inc., Gray Media Group, Inc., Los

Angeles Times Communications LLC, publisher of The Los Angeles Times, National Public

Radio, Inc., NBCUniversal Media, LLC d/b/a NBC News, The New York Times Company, Pro

Publica, Inc., Tegna, Inc., and WP Company LLC, d/b/a The Washington Post (together, the “Press

Coalition”) request to access video exhibits admitted into evidence during the detention hearing in

the above-captioned matter.

       The D.C. Circuit has consistently employed the six-factor test set out in United States v.

Hubbard, 650 F.2d 293 (D.C. Cir. 1980), to determine whether the common-law right of access to

judicial records requires those records to be made available to the public for copying and
          Case 1:21-cr-00236-JDB Document 35 Filed 06/15/21 Page 2 of 3




inspection. 1 Applied in the general context of video exhibits admitted into evidence in court

hearings involving defendants charged with criminal offenses related to the January 6, 2021 breach

of the U.S. Capitol, and absent order of the Court, that test generally weighs in favor of allowing

public access to these exhibits.

       Applying the Hubbard factors to this case, the government does not oppose disclosure of

the video exhibits and will make the videos available to the Press Coalition via a “drop box”

platform, pursuant to the parameters outlined in Chief Judge Beryl A. Howell’s May 14, 2021

Standing Order No. 21-28. In addition, the video exhibits were not filed under seal in this matter.

Accordingly, the government is not requesting any restrictions on the Press Coalition’s ability to

download or copy the videos unless the defendant opposes the public dissemination of those videos

and can articulate a specific and particularized prejudice to him as part of making the requisite

showing under Hubbard. See generally Hubbard, 650 F.2d at 320-21 (“Thus, the possibility of

prejudice to the defendants by sensational disclosure is a factor which may weigh in favor of

denying immediate public access. The likelihood of prejudice will in turn depend on a number of

factors, including, most importantly, the nature of the materials disclosed.”).




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       The Hubbard test balances the following factors: “(1) the need for public access to the
documents at issue; (2) the extent of previous public access to the documents; (3) the fact that
someone has objected to disclosure, and the identity of that person; (4) the strength of any property
and privacy interests asserted; (5) the possibility of prejudice to those opposing disclosure; and (6)
the purposes for which the documents were introduced during the judicial proceedings.” Leopold
v. United States, 964 F.3d 1121, 1131 (D.C. Cir. 2020) (quoting MetLife, Inc. v. Fin. Stability
Oversight Council, 865 F.3d 661, 665 (D.C. Cir. 2017)).
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          Case 1:21-cr-00236-JDB Document 35 Filed 06/15/21 Page 3 of 3




                                           CONCLUSION

       WHEREFORE, the United States does not oppose the Press Coalition’s application.


                                             Respectfully submitted,

                                             CHANNING D. PHILLIPS
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                                             D.C. Bar No. 415793

                                             By: /s/ Kimberley C. Nielsen
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 15, 2021, I caused a copy of the foregoing to be served on

counsel of record via electronic filing.

                                             /s/ Kimberley C. Nielsen
                                             KIMBERLEY C. NIELSEN
                                             Assistant United States Attorney




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